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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

                                                )
 UNITED STATES OF AMERICA,                      )
                                                )               No. 21-cr-00670-CJN
                      v.                        )
                                                )
 STEPHEN K. BANNON,                             )
                                                )
               DEFENDANT.                       )
                                                )

                                    [PROPOSED] ORDER

       Upon consideration of Motion of The U.S. House of Representatives Minority Leader

Kevin O. McCarthy and The U.S. House of Representatives Minority Whip Stephen J. Scalise

(“House Minority Leadership”) for Leave to File an Amicus Curiae Brief, it is this ___ day of

May, 2022, hereby:

       ORDERED that the Motion is GRANTED; and it is further

       ORDERED that the Amicus Curiae Brief attached to the House Minority Leadership’s

Motion shall be docketed by the Clerk of the Court as filed..

       SO ORDERED.




                                                      The Honorable Carl J. Nichols
                                                     United States District Court Judge
